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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

 UNITED STATES OF AMERICA                       *
                                                *
                 v.                             *       Criminal Action No. 1:19-cr-10081-IT
                                                *
 WILLIAM FERGUSON, et al.,                      *
                                                *
         Defendants.                            *

                                               ORDER

                                           October 12, 2021

TALWANI, D.J

       The United States and Defendant William Ferguson have jointly moved to exclude time

under 18 U.S.C. §§ 3161(h)(2) and (h)(7)(a) and to continue the trial date as to Ferguson. Joint

Motion [#808]. They have executed and submitted to the court a Deferred Prosecution

Agreement (“DPA”) under which Ferguson agrees to abide by certain conditions and the United

States agrees that if he fulfills those conditions it will move to dismiss the charges against him

after twenty-four months. DPA [#808-1].

       The Speedy Trial Act expressly provides for the exclusion of “[a]ny period of delay

during which prosecution is deferred by the attorney for the Government pursuant to written

agreement with the defendant, with the approval of the court, for the purpose of allowing the

defendant to demonstrate his good conduct.” 18 U.S.C. § 3161(h)(2). The Speedy Trial Act

provides further for the exclusion of “[a]ny period of delay resulting from a continuance granted

by any judge . . . if the judge granted such continuance on the basis of his findings that the ends

of justice served by taking such action outweigh the best interest of the public and the defendant

in a speedy trial.” Id. § 3161(h)(7)(a).
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       The court has considered and now finds that, in these circumstances, the DPA falls within

the ambit of § 3161(h)(2). The court finds further that the ends of justice served by this

continuance outweigh the best interests of the defendant and the public in a speedy trial under 18

U.S.C. § 3161(h)(7)(a), as the delay will allow Ferguson to take responsibility for his conduct

and efficiently resolve the prosecution. Therefore, the joint motion is GRANTED. The DPA is

approved, and Ferguson’s trial is continued without date. The parties shall submit a status report

to this court on or before October 15, 2022.

       IT IS SO ORDERED.

       October 12, 2021                                       /s/ Indira Talwani
                                                              United States District Judge




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